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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


              In re                                                                Chapter 11

              STANADYNE LLC, et al.,1                                              Case No. 23-10207 (TMH)

                               Debtors.                                            (Jointly Administered)

                                                                                   Ref. Docket No. 245

                  ORDER (I) APPROVING BIDDING PROCEDURES, (II) SCHEDULING AN
                   AUCTION AND A SALE HEARING, (III) APPROVING THE FORM AND
                   MANNER OF NOTICE THEREOF, (IV) ESTABLISHING NOTICE AND
                 PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT AND SALE OF
                    CONTRACTS AND LEASES, AND (V) GRANTING RELATED RELIEF

                      Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

         (collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing and approving the

         bidding procedures attached hereto as Exhibit 1 (the “Bidding Procedures”),2 (b) approving the

         form and manner of notice of the Auction and the Sale Hearing with respect to the Sale of all or

         substantially all of the Debtors’ assets (the “Assets,” as further defined in the Bidding Procedures),

         (c) scheduling an Auction and a Sale Hearing, (d) establishing notice and procedures for the

         assumption, assignment and sale of executory contracts and unexpired leases, and (e) granting

         related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

         this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding


         1.
              The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
              number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
              and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
              Jacksonville, North Carolina 28546.
         2
              Capitalized terms used in this Order but not otherwise herein defined have the meanings given to such terms in the
              Motion or Bidding Procedures, as applicable.
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         pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with

         Article III of the United States Constitution; and this Court having found that venue of this

         proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

         this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

         estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

         notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

         notice need be provided; and this Court having reviewed the Motion and having heard the

         statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

         and this Court having determined that the legal and factual bases set forth in the Motion and at the

         Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

         before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

         ORDERED THAT:

         BASED ON THE RECORD ESTABLISHED AT THE HEARING, THE COURT HEREBY
         FINDS THAT:

                A.      The findings and conclusions set forth herein constitute the Court’s findings of fact

         and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding

         pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings of fact

         constitute conclusions of law, they are adopted as such. To the extent any of the following

         conclusions of law constitute findings of fact, they are adopted as such.

                B.      This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334.

         This proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this

         district and in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                C.      Good and sufficient notice of the Motion, the Bidding Procedures, and the relief

         sought in the Motion has been given under the circumstances, and no other or further notice is

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         required except as set forth herein. A reasonable opportunity to object or be heard regarding the

         relief provided herein has been afforded to parties in interest.

                   D.      The bases for the relief requested in the Motion are: (i) sections 105, 363, and 365

         of the Bankruptcy Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”); (ii) Rules 2002(a)(2),

         6004, 6006, 9007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

         Rules”); and (iii) Rule 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the

         United States Bankruptcy Court for the District of Delaware (the “Local Rules”).

                   E.      Notice of the Motion has been given to: (i) the Office of the United States Trustee

         for the District of Delaware; (ii) counsel to the Official Committee of Unsecured Creditors (the

         “Committee”); (iii) Cerberus Business Finance, LLC, as administrative agent and collateral agent

         for Prepetition Senior Lenders (as defined in the Cash Collateral Order)3 (in such capacity, the

         “Prepetition Agent”); (iv) counsel to the Prepetition Agent; (v) the United States Attorney’s Office

         for the District of Delaware; (vi) the Internal Revenue Service; (vii) the state attorneys general for

         all states in which the Debtors conduct business; (viii) all parties who have expressed a written

         interest in some or all of the Assets; (ix) all known holders of liens, encumbrances, and other

         claims secured by the Assets; (x) all parties to Potential Assigned Contracts (as defined below);

         and (xi) any party that has requested notice pursuant to Bankruptcy Rule 2002 (collectively, the

         “Notice Parties”).

                   F.      The Debtors have articulated good and sufficient reasons for this Court to: (i)

         approve the Bidding Procedures; (ii) schedule the Auction and Sale Hearing and approve the

         manner of notice of the Auction, Sale, and Sale Hearing; and (iii) approve the procedures for the




         3
             As used herein, “Cash Collateral Order” means, as amended, supplemented, or otherwise modified from time to
             time, that certain order authorizing the use of cash collateral on the terms therein entered at Docket No. 218.
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         assumption, assignment and sale of executory contracts and unexpired leases, including notice of

         proposed cure amounts.

                G.      The Bidding Procedures attached hereto as Exhibit 1 and the Stalking Horse

         Purchase Agreement filed at Docket No. 265 were negotiated by the parties at arm’s-length and in

         good faith by the Debtors and the Stalking Horse Bidder.

                H.      The Bidding Procedures and the Stalking Horse Purchase Agreement are fair,

         reasonable, and appropriate, are designed to maximize creditor recoveries from the consummation

         of the Sale and enable the Debtors to comply with the Milestones (as defined in the Cash Collateral

         Order, and as may have been subsequently modified, supplemented, and amended), and are

         consistent with the Debtors’ exercise of their fiduciary duties under applicable law.

                I.      The Motion, this Order, and the assumption, assignment and sale procedures set

         forth herein are reasonably calculated to provide counterparties to Potential Assigned Contracts

         with proper notice of the intended assumption, assignment and sale of their Potential Assigned

         Contracts, the procedures in connection therewith, and any cure amounts relating thereto.

                J.      The sale notice, substantially in the form attached hereto as Exhibit 2 (the “Sale

         Hearing Notice”), is reasonably calculated to provide interested parties with timely and proper

         notice of the proposed Sale, including, without limitation: (i) the date, time, and place of the

         Auction (if one is held); (ii) the Bidding Procedures; (iii) the deadline for filing objections to the

         Sale and entry of the Sale Order, and the date, time, and place of the Sale Hearing; (iv) sufficient

         identification of the Assets; (v) instructions for obtaining copies of the Stalking Horse Purchase

         Agreement; (vi) a description of the Sale as being free and clear of liens, claims, encumbrances,

         and other interests (except as set forth in the applicable purchase agreement), with all such liens,

         claims, encumbrances, and other interests attaching with the same validity and priority to the Sale


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         proceeds; and (vii) notice of the proposed assumption, assignment and sale of Assigned Contracts

         (as defined in the Stalking Horse Purchase Agreement) to the Stalking Horse Bidder pursuant to

         the Stalking Horse Purchase Agreement (or to another Successful Bidder arising from the Auction,

         if any), and no other or further notice of the Sale shall be required.

                  K.     The legal and factual bases set forth in the Motion establish just cause for the relief

         granted herein. Entry of this Order is in the best interests of the Debtors and their estates, creditors,

         interest holders, and all other parties in interest.

                  L.     The Motion and the Bidding Procedures comply with the requirements set forth by

         Local Rule 6004-(1)(c).

         IT IS HEREBY ORDERED THAT:

                  1.     The Motion is granted as provided herein.

                  2.     All objections to the relief requested in the Motion that have not been withdrawn,

         waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

         with the Court, are overruled.

         I.       Important Dates and Deadlines

                          Event                                            Date
              Service of Notice of                Within Three Days of Entry of this Order
              Assumption, Assignment, and
              Sale
              Cure Objection Deadline             June 7, 2023 at 4:00 p.m. (ET)
              Sale Objection Deadline             June 21, 2023 at 4:00 p.m. (ET)
              Bid Deadline                        June 21, 2023 at 5:00 p.m. (prevailing Eastern Time)
              Deadline for Debtors to             June 23, 2023 at 5:00 p.m. (ET)
              Designate Qualified Bids
              Auction                             June 28, 2023 at 10:00 a.m. (prevailing Eastern Time)
              Debtors’ Deadline to Reply to       July 6, 2023 at 6:00 p.m. (ET)
              Sale Objections

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             Sale Hearing                       July 10, 2023 at 10:00 a.m. (prevailing Eastern Time)


                3.      Bid Deadline. The deadline by which all Bids for the Assets must be actually

         received by the parties specified in the Bidding Procedures is 5:00 p.m. (prevailing Eastern Time),

         on June 21, 2023 (the “Bid Deadline”).

                4.      Auction. If, under the Bidding Procedures, an Auction is to be held, it shall be held

         no later than June 28, 2023, at the offices of counsel to the Debtors: Hughes Hubbard & Reed LLP,

         One Battery Park Plaza, New York, NY 10004, or such later time on such day or other place as

         the Debtors (with the prior written consent of the Stalking Horse Bidder and the Prepetition Agent

         and in consultation with the Committee) shall notify all Qualified Bidders who have submitted

         Qualified Bids. As set forth more fully in the Bidding Procedures, only Qualified Bidders shall be

         permitted to participate at the Auction.

                5.      Notice of Successful Bidder. The Debtors shall file a notice identifying the

         Successful Bidder (the “Successful Bidder Notice”) by: (i) if no Qualified Bid (other than the

         Stalking Horse Purchase Agreement) is received by the Bid Deadline, 5:00 p.m. (prevailing

         Eastern Time) on the day following the Bid Deadline or (ii) if one or more Qualified Bids (in

         addition to the Stalking Horse Purchase Agreement) is received by the Bid Deadline and an

         Auction is held, 5:00 p.m. (prevailing Eastern Time) on the day following the conclusion of the

         Auction.

                6.      Sale Objections. Objections to the Sale, if any (other than objections related to the

         assumption and assignment of a Potential Assigned Contract, which are governed by Section III

         of this Order), must (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy

         Rules and the Local Rules; (c) state, with specificity, the legal and factual bases thereof and (d) be

         filed with the Court and served so as to be actually received by no later than June 21, 2023 at 5:00
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         p.m. (prevailing Eastern Time) (the “Sale Objection Deadline”) on the following parties (the

         “Objection Notice Parties”):

                            Counsel to the Debtors                         The United States Trustee
                        Hughes Hubbard & Reed LLP                      Office of the United States Trustee
                      One Battery Park Plaza, 16th Floor                  For the District of Delaware
                             New York, NY 10004                      844 King Street, Suite 2207, Lockbox 35
               Attn: Kathryn A. Coleman, Christopher Gartman,                Wilmington, DE, 19801
                     katie.coleman@hugheshubbard.com,                         Attn: Jane M. Leamy
                     chris.gartman@hugheshubbard.com,                       jane.m.leamy@usdoj.gov

                    Young Conaway Stargatt & Taylor, LLP
                            1000 North King Street
                                Rodney Square
                         Wilmington, DE 19801-6108
               Attn: Michael R. Nestor and Andrew L. Magaziner
                   mnestor@ycst.com, amagaziner@ycst.com
                          Counsel to the Committee                      Counsel to the Prepetition Agent
                     Kramer Levin Naftalis & Frankel LLP                        KTBS Law LLP
                         1177 Avenue of the Americas                    1801 Century Park East, 26th Floor
                             New York, NY 10036                              Los Angeles, CA 90067
                  Attn: Adam C. Rogoff and Rose Hill Bagley        Attn: Michael L. Tuchin and David A. Fidler
             arogoff@kramerlevin.com, rbagley@kramerlevin.com      mtuchin@ktbslaw.com, dfidler@ktbslaw.com

                              Morris James LLP                          Pachulski Stang Ziehl & Jones LLP
                      500 Delaware Avenue, Suite 1500                       919 Market St., 17th Floor
                            Wilmington, DE 19801                                  P.O. Box 8705
                 Attn: Jeffrey R. Waxman and Eric J. Monzo         Wilmington, DE 19801-8705 (Courier 19801)
                         jwaxman@morrisjames.com,                  Attn: Laura Davis Jones and Timothy Cairns
                          emonzo@morrisjames.com                    ljones@pszjlaw.com, tcairns@pszjlaw.com



                   7.      A party’s failure to timely file or make an objection in accordance with this Order

         shall forever bar such party from asserting any objection to the Motion, entry of the Sale Order,

         and/or consummation of the Sale with the Successful Bidder pursuant to the applicable purchase

         agreement, including the assumption, assignment and sale of the Assigned Contracts to the

         Successful Bidder pursuant to the applicable purchase agreement, and shall be deemed to

         constitute any such party’s consent to entry of the Sale Order and consummation of the Sale and

         all transactions related thereto, including, without limitation, such assumption, assignment and

         sale.



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                8.      Sale Hearing. The Sale Hearing shall commence on July 10, 2023, at 10:00 a.m.

         (prevailing Eastern Time) before the Honorable Thomas M. Horan, at the Court, 824 North Market

         Street, Wilmington, Delaware 19801. Upon entry of this Order, the Debtors are authorized to

         perform any obligations of the Debtors set forth in the Stalking Horse Purchase Agreement that

         are intended to be performed prior to the Sale Hearing or entry of the Sale Order. The Sale Hearing

         may be adjourned by announcement in open Court or on the Court’s calendar without any further

         notice required.

         II.    Auction, Bidding Procedures, and Related Relief

                9.      The Bidding Procedures are incorporated herein and are hereby approved in their

         entirety. The Bidding Procedures shall govern the submission, receipt, and analysis of all Bids

         relating to any Sale transaction. Any party desiring to bid on the Assets or a portion thereof shall

         comply with the Bidding Procedures and this Order. The Debtors, in consultation with the

         Consultation Parties, are authorized to take any and all actions necessary to implement the Bidding

         Procedures and the Debtors and their professionals shall direct and preside over the Auction;

         provided, however, the Debtors may not take any action that is contrary to the Bidding Procedures,

         including any modification thereof, without the consent of the Consultation Parties or an order of

         the Court.

                10.     The Stalking Horse Bidder is deemed a Qualified Bidder at all times, and the

         Stalking Horse Bid as set forth in the Stalking Horse Purchase Agreement is deemed a Qualified

         Bid. Pursuant to the provisions of the Cash Collateral Order, the Stalking Horse Bidder may credit

         bid any portion or all of its outstanding Prepetition Obligations (up to the amount outstanding as

         of the projected closing date of the Sale (including but not limited to, principal, accrued and unpaid

         interest (including postpetition interest to the extent provided in the Cash Collateral Order), and


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         all outstanding fees and expenses and other amounts owed under the Loan Documents (as defined

         in the Cash Collateral Order)).

                11.     If the Debtors do not receive any Qualified Bids (other than the Stalking Horse

         Bid): (a) the Debtors will not hold the Auction; (b) the Debtors shall name the Stalking Horse

         Bidder as the Successful Bidder for the Purchased Assets (as defined in the Stalking Horse

         Purchase Agreement); and (c) the Debtors shall seek approval of the Stalking Horse Purchase

         Agreement at the Sale Hearing.

                12.     If the Debtors receive one or more Qualified Bids from Qualified Bidders (other

         than the Stalking Horse Bidder), then the Debtors shall conduct the Auction in accordance with

         the Bidding Procedures.

                13.     Pursuant to Local Rule 6004-1(c)(ii): (a) each bidder participating at the Auction

         shall be required to confirm that it has not engaged in any collusion with respect to the bidding or

         the Sale, as set forth in the Bidding Procedures; (b) the Auction shall be conducted openly and all

         creditors providing 24 hours’ notice to the Debtors by email (ajacobs@ycst.com) will be permitted

         to attend the Auction; and (c) the Auction shall be transcribed or videotaped.

                14.     No person or entity shall be entitled to any expense reimbursement, break-up fees,

         “topping,” termination, or other similar fee or payment, and by submitting a bid, such person or

         entity is deemed to have waived their right to request or to file with this court any request for

         expense reimbursement or any fee of any nature, whether by virtue of section 503(b) of the

         Bankruptcy Code or otherwise.




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         III.   Approval of the Assumption, Assignment, and Sale Procedures

                15.    The procedures set forth below regarding the assumption, assignment and sale of

         Potential Assigned Contracts pursuant to sections 365(b) and 365(f) of the Bankruptcy Code in

         connection with the Sale (the “Assumption Procedures”) are hereby approved.

                16.    These Assumption Procedures shall govern the assumption, assignment and sale of

         the Assigned Contracts ultimately selected to be assumed, assigned and sold in connection with a

         Sale, subject to the payment of any amounts necessary to cure any defaults arising under any

         Assigned Contract (as further defined in the Stalking Horse Asset Purchase Agreement, the “Cure

         Costs”):

                           a. Notice of Assumption, Assignment and Sale. Within 3 business days
                              following entry of this Order (the “Assumption, Assignment and Sale
                              Service Deadline”), the Debtors shall file on the docket and serve a notice
                              of contract assumption, in substantially the form attached hereto as Exhibit
                              3, (the “Notice of Assumption, Assignment and Sale”) via overnight
                              delivery on all counterparties to all executory contracts and unexpired leases
                              of the Debtors (collectively, the “Potential Assigned Contracts”) and
                              provide a copy of the same to the Stalking Horse Bidder. The Notice of
                              Assumption, Assignment and Sale shall inform each recipient of (i) the
                              timing and procedures relating to such assumption, assignment and sale, (ii)
                              the title of the Potential Assigned Contract, (iii) the name of the
                              counterparty to the Potential Assigned Contract, (iv) Debtors’ good faith
                              estimates of the Cure Costs (if any) required in connection with the Potential
                              Assigned Contract, (v) the identity of the Stalking Horse Bidder, and (vi)
                              the Cure Objection Deadline (as defined below); provided, however, that
                              service of a Notice of Assumption, Assignment and Sale does not constitute
                              an admission that such Potential Assigned Contract is an executory contract
                              or unexpired lease or that such stated Cure Cost constitutes a claim against
                              the Debtors or a right against the Stalking Horse Bidder (or other Successful
                              Bidder) and all rights with respect thereto shall be expressly reserved.
                              Further, the inclusion of a Potential Assigned Contract on the Notice of
                              Assumption, Assignment and Sale is not a guarantee that such Potential
                              Assigned Contract will ultimately be assumed, assigned and sold.

                           b. Objections. Any counterparty to a Potential Assigned Contract shall file
                              and serve on the Objection Notice Parties any objections to (a) the proposed
                              assumption and assignment of its Potential Assigned Contract to the
                              Successful Bidder (and must state in its objection, with specificity, the legal

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                    and factual basis of its objection), (b) if applicable, the proposed Cure Cost
                    for its Potential Assigned Contract (and must state in its objection, with
                    specificity, what Cure Cost is required with appropriate documentation in
                    support thereof) and (c) the provision of adequate assurance of future
                    performance by the Stalking Horse Bidder, no later than June 7, 2023 at
                    5:00 p.m. (prevailing Eastern Time) (the “Cure Objection Deadline”). If
                    no objection is timely filed and served, (x) the counterparty to the Potential
                    Assigned Contract shall be deemed to have consented to the assumption,
                    assignment and sale of the Contract to the Successful Bidder pursuant to
                    sections 363 and 365 of the Bankruptcy Code if such Potential Assigned
                    Contract is designated by the Successful Bidder as an Assigned Contract,
                    and shall be forever barred from asserting any objection with regard to such
                    assumption, assignment and sale, except with respect to the adequate
                    assurance of future performance by a Successful Bidder other than the
                    Stalking Horse Bidder, and (y) the Cure Cost set forth in the Notice of
                    Assumption, Assignment and Sale shall be controlling pursuant to section
                    365 of the Bankruptcy Code, notwithstanding anything to the contrary in
                    any Potential Assigned Contract, or any other document, and the
                    counterparty to the Potential Assigned Contract shall be deemed to have
                    consented to such Cure Cost pursuant to section 365 of the Bankruptcy
                    Code, and shall be forever barred from asserting any other claims related to
                    such Potential Assigned Contract against the Debtors or the Successful
                    Bidder, or the property of either of them.

                 c. Supplemental Contract Assumption Notice. To the extent the Debtors,
                    at any time after the Assumption, Assignment and Sale Service Deadline (i)
                    identify additional Potential Assigned Contracts, (ii) remove Potential
                    Assigned Contracts from the list of executory contracts and unexpired
                    leases ultimately selected as Assigned Contracts that the Successful Bidder
                    proposes be assumed, assigned and sold to it in connection with a Sale,
                    and/or (iii) modify the previously stated Cure Cost associated with any
                    Potential Assigned Contracts, the Debtors will promptly file with this Court
                    and serve by overnight delivery a supplemental notice of contract
                    assumption (a “Supplemental Assumption Notice”) on each of the
                    counterparties to the affected Potential Assigned Contracts and their
                    counsel of record, if any. Each Supplemental Assumption Notice will
                    include the same information with respect to listed Potential Assigned
                    Contracts as was included in the Notice of Assumption, Assignment and
                    Sale. Each Supplemental Assumption Notice that identifies a Potential
                    Assigned Contract that was not previously designated to be assumed,
                    assigned and sold or that reduces the Debtors’ calculation of the Cure Cost
                    shall provide a deadline of not less than seven business (7) days from the
                    date of service of such Supplemental Assumption Notice by which the
                    counterparty to any such Potential Assigned Contract may object only to (a)
                    its listing as an Assigned Contract (if it was not previously designated to be
                    assigned), and (b) the Debtors’ calculation of the Cure Cost for such

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                    Potential Assigned Contract (if such Cure Cost is lower than a previously
                    listed Cure Cost for such Potential Assigned Contract or the amount
                    asserted by such counterparty by the Cure Objection Deadline).

                 d. Supplemental Adequate Assurance Objection Deadline. Following the
                    Bid Deadline, in the event that the Debtors receive one or more Qualified
                    Bids other than the Stalking Horse Purchase Agreement, upon request by
                    any counterparty to a Potential Assigned Contract, the Debtors will send
                    such party evidence that any Qualified Bidder that included such Potential
                    Assigned Contract in its Bid has the ability to perform thereunder and
                    otherwise complies with the requirements of adequate assurance of future
                    performance under section 365(b)(1) of the Bankruptcy Code on a
                    confidential basis for all nonpublic information. Consistent with Paragraph
                    5 of this Order, the Debtors will file a notice of successful bidder. Parties
                    objecting to the proposed adequate assurance of future performance by a
                    Successful Bidder other than the Stalking Horse Bidder must object at or
                    before the Sale Hearing.

                 e. Dispute Resolution. If the Debtors (subject to the consent of the Successful
                    Bidder) and the non-debtor counterparty to a Potential Assigned Contract
                    cannot resolve an objection to the Cure Cost for such Potential Assigned
                    Contract, such objection may be adjourned and the Potential Assigned
                    Contract may be (but is not required to be) assumed by the Debtors and
                    assigned and sold to the Stalking Horse Bidder or Successful Bidder, as
                    applicable, provided that the Cure Cost that the counterparty asserts is
                    required to be paid shall be segregated pending the parties’ consensual
                    resolution of the objection to the Cure Cost or the Court’s adjudication of
                    such payment. Any objection to the proposed assumption, assignment and
                    sale of a Potential Assigned Contract or to the related Cure Cost that remains
                    unresolved as of the Sale Hearing shall, in the Debtors’ discretion (subject
                    to the consent of the Successful Bidder), be heard at the Sale Hearing or
                    adjourned to a date and at a time determined by the Debtors (or otherwise
                    scheduled by the Court). Pending the parties’ consensual resolution of any
                    Cure Cost objections or the Court’s adjudication of such payments, the
                    Successful Bidder may elect to re-designate the related Assigned Contracts
                    to not be an Assigned Contract. Upon any Cure Cost amount that was
                    subject to an objection becoming fixed, the Successful Bidder may elect to
                    re-designate the related Assigned Contract to not be an Assigned Contract.

                 f. Contract Assumption. No Assigned Contract shall be deemed assumed,
                    assigned and sold pursuant to sections 365 and 363 of the Bankruptcy Code
                    until the later of (i) the date the Court has entered an order assuming,
                    assigning and selling such Assigned Contracts or (ii) the date the Sale has
                    closed.



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                17.     The inclusion of a Potential Assigned Contract on the Notice of Assumption,

         Assignment and Sale or any Supplemental Assumption Notice shall not: (a) obligate the Debtors

         to assume, assign or sell any executory contracts or unexpired leases listed thereon, (b) obligate

         any Qualified Bidder or the Successful Bidder to designate such Potential Assigned Contract as an

         Assigned Contract or refrain from redesignating it to not be an Assigned Contract, or (c) constitute

         any admission or agreement of the Debtors that such Potential Assigned Contract is an executory

         contract or such lease is unexpired, as applicable. Only those Potential Assigned Contracts that

         are included on a schedule of Assigned Contracts (for which the Stalking Horse Bidder’s or other

         Successful Bidder’s, as applicable, designation rights with respect thereto have expired) attached

         to a final asset purchase agreement approved by the Court will be assumed, assigned and sold.

                18.     The Notice of Assumption, Assignment and Sale is hereby approved.

         IV.    Sale Hearing Notice

                19.     The Sale Hearing Notice, substantially in the form attached hereto as Exhibit 2, is

         hereby approved. Within three (3) business days following entry of this Order, the Debtors shall

         cause the Sale Hearing Notice to be served on the following parties or their respective counsel, if

         known: (a) the Notice Parties; (b) counsel to the Stalking Horse Bidder; (c) all parties to Potential

         Assigned Contracts; (d) all parties who have expressed to the Debtors or their professionals in

         writing an interest in acquiring some or all of the Assets; (e) all known holders of liens,

         encumbrances, and other claims secured by any of the Assets; (f) the Internal Revenue Service;

         (g) all applicable state and local taxing authorities; (h) the Federal Trade Commission; (i) each

         governmental agency that is an interested party with respect to the Sale and transactions proposed

         thereunder; (j) all of the Debtors’ other known creditors and equity security holders; and (k) all

         parties that have requested or that are required to receive notice pursuant to Bankruptcy Rule 2002.


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         V.     Miscellaneous

                20.     The failure to include or reference a particular provision of the Bidding Procedures

         specifically in this Order shall not diminish or impair the effectiveness or enforceability of such a

         provision.

                21.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                22.     The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.

                23.     This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation, and enforcement of this Order.




              Dated: May 16th, 2023                  THOMAS M. HORAN
              Wilmington, Delaware                   UNITED STATES BANKRUPTCY JUDGE




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